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NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                          Criminal Number 1:21-cr-00294-RC


JEREMY J. VOROUS
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:               (Please check one)


 9       CJA                9      RETAINED           9■      FEDERAL PUBLIC DEFENDER


                                          s/Burke Wonnell, Assistant Federal Defender
                                                                   (Signature)



                                            PLEASE PRINT THE FOLLOWING INFORMATION:


                                          Burke Wonnell, AK 9610049
                                                           (Attorney & Bar ID Number)
                                          Federal Public Defender's Office - District of Alaska
                                                                  (Firm Name)
                                          188 W. Northern Lights Blvd., Suite 700
                                                                (Street Address)

                                          Anchorage, AK 99503
                                            (City)                 (State)          (Zip)
                                          (907) 646-3400
                                                              (Telephone Number)
